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                        United States Court of Appeals
                                         For the First Circuit
                                             ____________________

                                      NOTICE OF APPEARANCE

    No. 22-1823                   Short Title: Mexico v. Smith & Wesson, et

          The Clerk will enter my appearance as counsel on behalf of (please list names of all parties
   represented, using additional sheet(s) if necessary):
   Century International Arms, Inc.                                                             as the
    [ ] appellant(s)                     [✔] appellee(s)                      [ ] amicus curiae
    [ ] petitioner(s)                    [ ] respondent(s)                    [ ] intervenor(s)


    Anthony M. Pisciotti                                   12/21/2022
    Signature                                              Date
    Anthony Pisciotti
    Name

    Pisciotti Lallis Erdreich                              973-245-8100
    Firm Name (if applicable)                              Telephone Number

    30 Columbia Turnpike                                   973-245-8101
    Address                                                Fax Number

    Florham Park, NJ 07932                                 apisciotti@pisciotti.com
    City, State, Zip Code                                  Email (required)
    Court of Appeals Bar Number: 1161259


    Has this case or any related case previously been on appeal?
    [ ✔] No            [ ] Yes Court of Appeals No.
   =========================================================================
        Attorneys for both appellant and appellee must file a notice of appearance within 14 days of case
   opening. New or additional counsel may enter an appearance outside the 14 day period; however, a notice of
   appearance may not be filed after the appellee/respondent brief has been filed without leave of court. 1st Cir.
   R. 12.0(a).

        Counsel must complete and file this notice of appearance in order to file pleadings in this court.
   Counsel not yet admitted to practice before this court must promptly submit a bar application. 1st Cir. R.
   46.0(a)(2).
